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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICHEMONT INTERNATIONAL SA,                      )
CARTIER INTERNATIONAL A.G.,                      )
MONTBLANC-SIMPLO GMBH, CHLOE                     )      Case No. 16-cv-1227
S.A.S., VAN CLEEF & ARPELS SA,                   )
OFFICINE PANERAI A.G., and LANCEL                )
INTERNATIONAL SA,                                )
                                                 )
                        Plaintiffs,              )
                                                 )
       v.                                        )
                                                 )
THE PARTNERSHIPS and                             )
UNINCORPORATED ASSOCIATIONS                      )
IDENTIFIED ON SCHEDULE “A,”                      )
                                                 )
                                                 )
                   Defendants.
                                                 )
_____________________________________

                                         COMPLAINT

       Plaintiffs RICHEMONT INTERNATIONAL SA, CARTIER INTERNATIONAL A.G.,

MONTBLANC-SIMPLO GMBH, CHLOE S.A.S., VAN CLEEF & ARPELS SA, OFFICINE

PANERAI A.G., and LANCEL INTERNATIONAL SA (collectively, “Plaintiffs”) hereby bring

the present action against the Partnerships and Unincorporated Associations identified on

Schedule A attached hereto (collectively, “Defendants”) and allege as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are
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so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Defendant Domain

Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products bearing counterfeit

versions of Plaintiffs’ respective trademarks. Each of the Defendants has targeted sales from

Illinois residents by operating online stores that offer shipping to the United States, including

Illinois, accept payment in U.S. dollars and, on information and belief, has sold counterfeit

products bearing counterfeit versions of Plaintiffs’ respective trademarks to residents of Illinois.

Each of the Defendants is committing tortious acts in Illinois, is engaging in interstate

commerce, and has wrongfully caused Plaintiffs substantial injury in the State of Illinois.

                                      II. INTRODUCTION

       3.      Plaintiffs are all subsidiaries of Compagnie Financière Richemont SA

(“Richemont”), which owns several of the world's leading companies in the field of luxury

goods, with particular strengths in jewelry, luxury watches and writing instruments. This action

has been filed by Plaintiffs to combat online counterfeiters who trade upon Plaintiffs’ respective

reputations and goodwill by selling and/or offering for sale unauthorized and unlicensed

counterfeit products featuring counterfeits of Plaintiffs’ trademarks (the “Counterfeit Products”).



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The Defendants create the Defendant Internet Stores by the hundreds and design them to appear

to be selling Plaintiffs’ genuine products, while actually selling Counterfeit Products to

unknowing consumers. The Defendant Internet Stores share unique identifiers, such as design

elements and similarities of the Counterfeit Products offered for sale, establishing a logical

relationship between them and suggesting that Defendants’ counterfeiting operation arises out of

the same transaction, occurrence, or series of transactions or occurrences. Defendants attempt to

avoid liability by going to great lengths to conceal both their identities and the full scope and

interworking of their massive counterfeiting operation. Plaintiffs are forced to file this action to

combat Defendants’ counterfeiting of their respective registered trademarks, as well as to protect

unknowing consumers from purchasing Counterfeit Products over the Internet. Plaintiffs have

been and continue to be irreparably damaged through consumer confusion, dilution, and

tarnishment of their valuable trademarks as a result of Defendants’ actions and seek injunctive

and monetary relief.

                                       III. THE PARTIES

Plaintiffs

Plaintiff Cartier

       4.      Plaintiff CARTIER INTERNATIONAL A.G. is a corporation organized and

existing under the laws of Switzerland, having its principal place of business at Hinterbergstrasse

22, 6312 Steinhausen, Switzerland (“Cartier”). Cartier is a subsidiary of Richemont.

       5.      Cartier is one of the preeminent symbols of luxury in the world. Since at least as

early as 1847, Cartier and its predecessors-in-interest and associated companies have been using

the CARTIER trademark on and in connection with the advertising and sale of luxury products,




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including, inter alia, watches, watch buckles, clocks, jewelry, scarves, handbags, eyewear, pens,

letter openers, perfumes, and cigarette lighters (collectively, the “CARTIER Products”).

       6.      CARTIER Products are distributed and sold to consumers through over 300

Cartier boutiques, including one located at 630 N. Michigan Avenue in Chicago, Illinois, as well

as through thousands of authorized retailers worldwide. Cartier has for some time operated a

website where it promotes genuine CARTIER Products at cartier.us and cartier.com. More

recently, these websites have offered e-commerce of CARTIER Products via the cartier.us and

cartier.com websites. The cartier.us and cartier.com websites feature proprietary content, images

and designs exclusive to Cartier.

       7.      Cartier incorporates a variety of distinctive marks in the design of its various

CARTIER Products. As a result of its long-standing use, Cartier owns common law trademark

rights in its CARTIER trademarks. Cartier has also registered its trademarks with the United

States Patent and Trademark Office.      CARTIER Products typically include the CARTIER

registered trademark.   Cartier uses its trademarks in connection with the marketing of its

CARTIER Products, including the following marks which are collectively referred to as the

“CARTIER Trademarks.”

REGISTRATION            REGISTERED          REGISTRATION                 INTERNATIONAL
  NUMBER                TRADEMARK                DATE                        CLASSES
  411,975                                   February 13,       For: Watches and clocks and
                                            1945               wrist watches with wrist straps
                                                               and bracelets attached for
                                                               securing the same on the wrist of
                                                               the wearer, and traveling clocks
                                                               and watches with covers of
                                                               leather, fabric and the like for
                                                               protecting them while traveling in
                                                               class 014.




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415,184                           July 31, 1945    For: Reading glasses in class
                                                   009.

759,201                           October 29,      For: Watches and clocks in class
                  CARTIER         1963             014.

759,202                           October 29,      For: Articles of jewelry for
                                  1963             personal wear, not including
                                                   watches; and the following goods
                  CARTIER                          of solid or plated silverware-
                                                   namely, hollow-ware, jewelry
                                                   cases, and buckles in classes 008
                                                   and 014.

1,005,286                         February 25,     For: Jewelry-namely, bracelets in
              LOVE BRACELET
                                  1975             class 014.
1,114,482                         March 6, 1979    For: Articles of jewelry, watches
                                                   and clocks in class 014.




1,344,284         SANTOS          June 25, 1985    For: Watches in class 014.

1,353,952        PANTHERE         August 13, 1985 For: Watches in class 014.

1,365,478      PANTHERE DE        October 15,      For: Watches in class 014.
                 CARTIER          1985
1,372,423                         November 26,     For: Bracelets in class 014.
                                  1985


1,391,539       SANTOS DE         April 29, 1986   For: Watches in class 014.
                 CARTIER
1,483,326          PASHA          April 5, 1988    For: Watches in class 014.




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1,535,215                         April 18, 1989   For: Bracelets, rings, earrings in
                                                   class 014.




1,948,372         TORTUE          Jan. 16, 1996    For: Watches in class 014.

2,092,409                         September 2,     For: Jewelry, precious stones,
                BAIGNOIRE         1997             watches and clocks in class 014.

2,322,769                         February 29,     For: Watches in class 014.
                                  2000




2,436,100                         March 20, 2001   For: Watches in class 014.




3,006,779                         October 18,      For: Jewellery, such as rings in
                   TANK           2005             class 014.

3,059,210                         February 14,     For: Rings in class 014.
                BALLERINE
                                  2006
3,162,410                         October 24,      For: Jewelry, namely, bracelets,
                                  2006             watches, rings, charms, earrings,
                                                   dog tag type pendants; cuff links;
                                                   belt buckles made of precious
                                                   metal in class 014.




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3,211,038                         February 20,      For: Horologic and chronometric
                                  2007              instruments, namely, watches in
                                                    class 014.




3,282,739                         August 21, 2007 For: Horologic and chronometric
                                                  instruments, namely, watches in
                                                  class 014.




3,282,847                         August 21, 2007 For: Horologic and chronometric
                                                  instruments, namely, watches in
                                                  class 014.




3,476,888                         July 29, 2008     For: Watches, chronometers,
               BALLON BLEU                          clocks in class 014.

3,557,455                         January 6, 2009   For: Horological instruments in
                                                    class 014.




3,637,776                         June 16, 2009     For: Goods in precious metals
                                                    and coated therewith, namely,
                                                    cuff-links, rings, bracelets,
                                                    earrings, necklaces in class 014.

                                                    For: Leatherware, namely,
                                                    wallets in class 018.

                                                    For: Clothing, namely, scarves in

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                                                    class 025.

3,776,794                         April 20, 2010    For: Jewelry, namely, rings,
                                                    bracelets, charms, earrings, made
                                                    of precious metals in class 014.


3,898,366                         January 4, 2011   For: Horologic and chronometric
                                                    instruments, namely, watches in
                                                    class 014.




4,178,047                         July 24, 2012     For: Jewelry and watches in class
                                                    014.

4,483,522                         February 18,      For: Watches in class 014.
                                  2014




4,487,142                         February 25,      For: Watches in class 014.
                                  2014




4,603,805       BALLON DE         September 16,     For: Jewelry and watches in class
                 CARTIER          2014              014.

4,705,798                         March 24, 2015    For: Handbags, purses, wallets,
                                                    and credit card holders, all of the
                                                    aforesaid goods made from
                                                    leather; handbags, purses, wallets,
                                                    and credit card holders, all of the
                                                    aforesaid goods made from
                                                    imitations of leather; leather and
                                                    imitation leather bags in class
                                                    018.



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        8.      The CARTIER Trademarks have been used exclusively and continuously by

Cartier and its predecessors-in-interest and associated companies in the U.S., some since at least

as early as 1859, and have never been abandoned. The above registrations for the CARTIER

Trademarks are valid, subsisting, in full force and effect, and many are incontestable pursuant to

15 U.S.C. § 1065.      Attached hereto as Exhibit 1 are true and correct copies of the U.S.

Registration Certificates for the CARTIER Trademarks included in the above table.             The

registrations for the CARTIER Trademarks constitute prima facie evidence of their validity and

of Cartier’s exclusive right to use the CARTIER Trademarks pursuant to 15 U.S.C. § 1057(b).

Plaintiff Montblanc

        9.      Plaintiff MONTBLANC-SIMPLO GMBH is a corporation organized and existing

under the laws of Germany, having its principal place of business at Hellgrundweg 100 22525

Hamburg, Germany (“Montblanc”). Montblanc is a subsidiary of Richemont.

        10.     Montblanc is an internationally recognized manufacturer, distributor and retailer

of high quality writing instruments, watches and other goods, all of which prominently display

its   famous,   internationally-recognized   and    federally-registered   trademarks,   including

MONTBLANC (collectively, the “MONTBLANC Products”).

        11.     MONTBLANC Products are distributed and sold to consumers through a

worldwide network of Montblanc boutiques and other tightly-controlled distribution

partnerships.   In 2011, Montblanc established an e-commerce site in the United States at

montblanc.com. Montblanc also launched an e-commerce platform in Europe, covering France,

The United Kingdom, and Germany. Sales of MONTBLANC Products via the montblanc.com

website represent a significant portion of Montblanc’s business. The montblanc.com website

features proprietary content, images and designs exclusive to Montblanc.



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       12.     Montblanc incorporates a variety of distinctive marks in the design of its various

MONTBLANC Products. As a result of its long-standing use, Montblanc owns common law

trademark rights in its MONTBLANC trademarks. Montblanc has also registered its trademarks

with the United States Patent and Trademark Office. MONTBLANC Products typically include

at least one of Montblanc’s registered trademarks. Montblanc uses its trademarks in connection

with the marketing of its MONTBLANC Products, including the following marks which are

collectively referred to as the “MONTBLANC Trademarks.”

REGISTRATION           REGISTERED           REGISTRATION          INTERNATIONAL
  NUMBER               TRADEMARK                DATE                  CLASSES
  776,208                                   September 1, For: Fountain pens, cases for
                                            1964         fountain pens, ball point pens,
                                                         ball point cartridges, ball point
                      MONTBLANC                          paste, mechanical pencils, lead
                                                         for mechanical pencils in class
                                                         016.

    839,016                                 November 21,      For: Fountain pen ink in class
                                            1967              002.

                                                              For: Fountain pens, cases for
                                                              fountain pens, ball point pens,
                                                              ball point cartridges, mechanical
                                                              pencils, lead for mechanical
                                                              pencils, desk stands for pens in
                                                              class 016.

   1,324,392                                March 12,         For: Fountain pens, ballpoint
                                            1985              pens and mechanical pencils
                                                              including sets thereof, all made
                                                              partially with precious metals and
                                                              sold in specialty stores in class
                                                              016.

   1,825,001                                 March 8, 1994    For: Spectacles and sunglasses in
                      MONTBLANC                               class 009.




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1,878,584                          February 14,    For: Jewelry, watches and
                                   1995            timepieces in class 018.

                                                   For: Purses, handbags, small
                                                   leather articles and accessories,
                                                   namely wallets and billfolds, and
                                                   luggage in class 018.

1,884,842                          March 21,       For: Jewelry, watches and
                                   1995            timepieces in class 014.

                                                   For: Purses, handbags, small
                MONTBLANC
                                                   leather articles and accessories,
                                                   namely wallets and billfolds, and
                                                   luggage in class 018.

2,202,465                          November 10,    For: toilet soaps, perfume,
                                      1998         cologne, eau de toilette, perfumed
                                                   body cream, hair and body
                MONTBLANC
                                                   shampoo, deodorant, and after
                                                   shave lotion in class 003.

2,415,189                           December 26,   For: clothing accessories, namely,
                                       2000        dress belts made of leather with
                                                   belt buckles of precious and semi-
                                                   precious metals distributed in
                MONTBLANC
                                                   channels of commerce where
                                                   luxury articles are sold and
                                                   promoted in class 025.

2,515,092                           December 4,    For: stationery, namely, writing
                                       2001        paper, writing cards in class 016.



2,747,460                          August 05,      For: Jewelry, cuff-links, and tie
                                   2003            bars in class 014.

3,021,081                          November 29,    For: education and training
                                      2005         services, namely, arranging and
                                                   conducting conferences, award
                                                   programs, seminars, colloquiums,
                                                   exhibitions and lectures in the
                                                   field of arts education, literacy,
                                                   musicianships, charitable
                                                   activities, artisanship, arranging

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                                                   and conducting programs and
                                                   exhibitions for educational and
                                                   entertainment purposes featuring
                                                   artists and their works; providing
                                                   recognition and incentives by the
                                                   way of awards to demonstrate
                                                   excellence in the fields of literacy
                                                   arts education and artistic
                                                   accomplishments; arranging and
                                                   conducting competitive sporting
                                                   and cultural events in class 042.

3,021,088                          November 29,    For: Watches, wristwatches,
                                   2005            chronometers, jewelry articles,
                                                   namely, earrings, rings, necklaces
                                                   in class 014.
                     4810
                                                   For: Writing instruments, in
                                                   particular, fountain pens, in class
                                                   016.

3,059,776                          February 21,    For: Money clips, key rings all
                                   2006            being made of metal in class 006.

                                                   For: Pocket-knives, razors in
                                                   class 008.

                                                   For: Graduated rulers in class
                                                   009.

                                                   For: Drinking flasks not of
                                                   precious metal; serving trays,
                                                   butlers trays, all being not of
                                                   precious metal; shaving brushes,
                                                   shaving brush stands in class 021.

                                                   For: Ashtrays not of precious
                                                   metal, tobacco pouches, cigar
                                                   cutters, cigar and cigarette cases
                                                   not of precious metal, cigarette
                                                   and cigar lighters for smokers not
                                                   of precious metal in class 034.

3,659,753                          July 28, 2009   For: Writing instruments,
                                                   namely, pens in class 016.


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3,894,136                          December 21,    For: Jewelry; cuff links in class
                                   2010            014.




4,295,116                          February 26,    For: Retail store services
                                   2013            featuring watches, writing
                                                   instruments and parts and fittings
                                                   therefor, writing inks and refills
                                                   for writing instruments, leather
                                                   goods, belts, jewelry, eyewear,
                                                   fragrances, stationery, stationery
                                                   refills, desk sets, personal care
                                                   products; online retail store
                                                   services featuring watches,
                                                   writing instruments, writing inks
                                                   and refills for writing
                                                   instruments, leather goods, belts,
                                                   jewelry, eyewear, fragrances,
                                                   stationery, stationery refills in
                                                   class 035.

4,359,666                           July 2, 2013   For: Eyeglasses, sunglasses,
                                                   eyeglass frames and cases;
                                                   graduated rulers in class 009.

                                                   For: Jewellery articles, namely,
                                                   bracelets, cufflinks in class 014.

                                                   For: Document markers; pouches
                     4810                          for writing instruments; inks and
                                                   ink refills for writing instruments;
                                                   diaries; personal organizers;
                                                   paperweights; pen and pencil
                                                   holders in class 016.

                                                   For: Belts in class 025.

4,582,264                            August 12,    For: Retail store services in the
                                       2014        field of luxury goods in the nature
                                                   of watches, chronometers, luxury
                MONTBLANC
                                                   writing instruments and parts and
                                                   fittings therefor, leather goods,
                                                   belts, jewelry, eyewear,

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                                                 fragrances, stationery, stationery
                                                 refills, desk sets, personal care
                                                 products provided via the Internet
                                                 and other computer and electronic
                                                 communication networks in class
                                                 035.

                                                 For: Telecommunication services,
                                                 namely, routing of Internet
                                                 queries from end users to website
                                                 hosting providers; providing
                                                 access to an online computer
                                                 database in the field of domain
                                                 name registration information;
                                                 connection of Internet domains
                                                 and e-mail-addresses in computer
                                                 networks, namely, data
                                                 communication by electronic mail
                                                 in class 038.

                                                 For: Technical IT project
                                                 management services for
                                                 managing and tracking computer
                                                 network domain names in
                                                 connection with the registration
                                                 of domain names for
                                                 identification of users and
                                                 Internet protocol addresses on the
                                                 Internet; verification of identities
                                                 for the purpose of permitting or
                                                 denying access to information and
                                                 services in the nature of computer
                                                 security services, namely,
                                                 enabling or restricting access to
                                                 computer networks to authorized
                                                 users by means of a website
                                                 featuring technology that verifies
                                                 user identities; Internet Protocol
                                                 (IP) address verification in class
                                                 042.

                                                 For: Legal services, namely,
                                                 registration of domain names for
                                                 identification of users on a global
                                                 computer network; registration
                                                 services enabling entities to

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                                                   manage information related to
                                                   domain names and e-mail
                                                   addresses for use on a global
                                                   computer network, namely,
                                                   issuing and registration of domain
                                                   names and e-mail addresses;
                                                   licensing of domain names; legal
                                                   services, namely, administration
                                                   of domain names and e-mail
                                                   addresses in class 045.

4,669,133                            January 13,   For: Soaps; perfumery; essential
                                        2015       oils; cosmetic preparations for
                                                   body and beauty care in class
                                                   003.

                                                   For: Eyeglasses, sunglasses;
                                                   eyeglass frames and cases;
                                                   magnifying glasses; computer and
                                                   tablets carrying cases and bags;
                                                   holders and cases for telephones,
                                                   portable telephones and
                                                   smartphones; accessories for
                                                   portable telephones, smartphones
                                                   and tablets, namely, cases, bags;
                                                   data recording and storage media
                                                   device and instruments, namely,
                                                   blank USB flash drive; graduated
                                                   rulers in class 009.

                                                   For: Jewelry; precious stones;
                                                   precious metals and their alloys;
                                                   cufflinks; tie clips; rings;
                                                   bracelets; earrings; necklaces;
                                                   brooches; key rings of precious
                                                   metal; jewelry cases; boxes of
                                                   precious metals; horological and
                                                   chronometric instruments;
                                                   watches; chronometers; clocks;
                                                   small clocks; watch cases; watch
                                                   bands; watch bracelets; key rings,
                                                   trinkets, or fobs of precious metal
                                                   in class 014.

                                                   For: Stationery; articles of paper
                                                   or cardboard, namely, boxes,

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                                                   bags, envelopes and pouches for
                                                   packaging; wrapping paper;
                                                   writing instruments; pouches for
                                                   writing instruments; cases for
                                                   writing instruments; inks and ink
                                                   refills for writing instruments;
                                                   desk sets; writing books;
                                                   calendars, note books, card and
                                                   document files, announcement
                                                   cards; writing paper, envelopes,
                                                   index cards; business cards;
                                                   writing pads; writing instrument
                                                   holders; paperweights; diaries,
                                                   cover for diaries, replacement
                                                   papers for diaries; inkwells; check
                                                   book holders, passport holders;
                                                   document holders and cases;
                                                   photo albums; bookends; money
                                                   clips; writing cases for writing
                                                   instruments in class 016.

                                                   For: Handbags, travelling bags,
                                                   rucksacks, garment bags for
                                                   travel, traveling sets comprised of
                                                   luggage, suitcases, bags for
                                                   sports, wheeled bags, wallets,
                                                   purses, name cards cases,
                                                   briefcases, attaché cases, key
                                                   cases of leather or imitation
                                                   leather; travelling trunks; unfitted
                                                   vanity cases; evening purses;
                                                   leather straps; boxes of leather or
                                                   leather board, trunks and
                                                   suitcases; credit card holder in
                                                   class 018.
4,686,500                           February 17,   For: Soaps, perfumery, essential
                                       2015        oils, cosmetic preparations for
                                                   body and beauty care in class
                                                   003.

                                                   For: Eyeglasses, sunglasses;
                                                   eyeglass frames and cases;
                                                   magnifying glasses; computer and
                                                   tablet computer carrying cases
                                                   and bags; holders and cases for
                                                   telephones, portable telephones

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                                                 and smartphones; accessories for
                                                 portable telephones, smartphones
                                                 and tablet computers, namely,
                                                 earphones and headphones;
                                                 graduated rulers in class 009.

                                                 For: Jewelry; cuff links; tie clips;
                                                 rings, bracelets, earrings,
                                                 necklaces, brooches; key rings of
                                                 precious metal; watches,
                                                 chronometers, clocks, watch
                                                 movements, watch straps, watch
                                                 bracelets, boxes of precious metal
                                                 for watches and jewelry in class
                                                 014.

                                                 For: Paper, cardboard; paper
                                                 boxes; cardboard boxes; printed
                                                 matter, namely, calendars, paper
                                                 cards; stationery; articles of paper
                                                 or cardboard, namely, boxes,
                                                 bags, envelopes and pouches for
                                                 packaging; wrapping paper;
                                                 writing instruments; replacement
                                                 parts for writing instruments,
                                                 namely, nibs, caps, and clips;
                                                 pouches for writing instruments;
                                                 cases for writing instruments;
                                                 inks and ink refills for writing
                                                 instruments; blank writing books;
                                                 calendars, note books; writing
                                                 paper, envelopes; business cards;
                                                 paperweights; diaries, covers for
                                                 diaries, replacement papers for
                                                 diaries; inkwells; checkbook
                                                 holders, passport holders;
                                                 document holders; document
                                                 portfolios; photo albums;
                                                 bookends; money clips; letter
                                                 trays, writing instrument holders,
                                                 writing paper pad refills; desk
                                                 sets, desk stands for writing
                                                 instruments and office
                                                 implements in the nature of office
                                                 stationery, pen and pencil holders
                                                 in class 016.

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                                                              For: Leather and imitation
                                                              leather, leather and imitation
                                                              leather goods, namely, handbags,
                                                              travelling bags, bags for sports,
                                                              wheeled bags, wallets, purses,
                                                              credit card holders, briefcases,
                                                              attaché-cases, key cases, trays
                                                              made of leather in the nature of
                                                              leather grooming organizers for
                                                              travel, travelling trunks, unfitted
                                                              vanity cases, handbags, boxes of
                                                              leather or leather board, trunks
                                                              and suitcases, and bags for
                                                              packaging in class 18.

       13.    The MONTBLANC Trademarks have been used exclusively and continuously by

Montblanc in the U.S., some since at least as early as 1913, and have never been abandoned.

The above registrations for the MONTBLANC Trademarks are valid, subsisting, in full force

and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit

2 are true and correct copies of the U.S. Registration Certificates for the MONTBLANC

Trademarks included in the above table. The registrations for the MONTBLANC Trademarks

constitute prima facie evidence of their validity and of Montblanc’s exclusive right to use the

MONTBLANC Trademarks pursuant to 15 U.S.C. § 1057(b).

Plaintiff Chloe

       14.    Plaintiff CHLOE S.A.S. is a corporation organized and existing under the laws of

France, having its principal place of business at 5-7 Av. Percier 75008 Paris, France (“Chloe”).

Chloe is a subsidiary of Richemont.

       15.    Chloe is an internationally recognized manufacturer, distributor and retailer of

high-quality fashion apparel, jewelry, handbags, and other accessories and related goods, all of

which prominently display its famous, internationally-recognized and federally-registered

trademarks, including CHLOE (collectively, the “CHLOE Products”). CHLOE Products have
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become enormously popular and even iconic, driven by Chloe’s arduous quality standards and

innovative design.    Among the purchasing public, genuine CHLOE Products are instantly

recognizable as such. In the United States and around the world, the Chloe brand has come to

symbolize high quality, and CHLOE Products are among the most recognizable luxury products

in the world.

       16.      CHLOE Products are distributed and sold to consumers through a worldwide

network of select authorized Chloe online retailers, dealers, boutiques, and at finer department

stores such as Bergdorf Goodman, Bloomingdale’s, Nordstrom, Barneys New York, and Saks

Fifth Avenue. Chloe also promotes the CHLOE Products online at chloe.com. The chloe.com

website features proprietary content, images and designs exclusive to Chloe.

       17.      Chloe incorporates a variety of distinctive marks in the design of its various

CHLOE Products. As a result of its long-standing use, Chloe owns common law trademark

rights in its CHLOE trademarks. Chloe has also registered its trademarks with the United States

Patent and Trademark Office.      CHLOE Products typically include at least one of Chloe’s

registered trademarks. Chloe uses its trademarks in connection with the marketing of its CHLOE

Products, including the following marks which are collectively referred to as the “CHLOE

Trademarks.”

REGISTRATION          REGISTERED          REGISTRATION                 INTERNATIONAL
  NUMBER              TRADEMARK               DATE                         CLASSES
  950,843                                  January 16,      For: Ladies' articles of clothing for
                                              1973          outerwear-namely, frocks, dresses,
                                                            coats, costumes, suits, skirts,
                                                            blouses, vests and pant-suits, vests,
                                                            and ladies' shoes in classes 010, 025,
                                                            026.

  1,103,275                               October 3, 1978   For: Body lotions and body
                                                            cleansing gels in class 003.


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1,491,810                          June 14, 1988   For: Perfume toilet water, cologne,
                                                   body lotion, body cream, personal
                                                   deodorant, and beauty or bath soap
                                                   in class 003.

                                                   For: Handbags, and purses in class
                   CHLOE
                                                   018.
                                                   For: Bathrobes, bathing suits, coats,
                                                   dresses, hats, jackets, shirts, blouses,
                                                   trousers, skirts, scarves, and shoes in
                                                   class 025.

1,925,176                           October 10,    For: Sunglasses, cases and
                                       1995        containers for such sunglasses in
                   CHLOE
                                                   class 009.

2,641,982                           October 29,    For: Travelling bags, holdalls, tote
                                       2002        bags, handbags, credit card case,
                                                   purses, wallets, key cases, coin
                                                   purses, parts and fittings for all the
                                                   aforesaid goods in class 018.
               SEE BY CHLOE
                                                   For: Clothing, namely, trousers,
                                                   skirts, suits, dresses, jackets,
                                                   blousons, shirts, coats, cardigans,
                                                   sweaters, blouses, shorts, t-shirts,
                                                   pullovers, and scarves in class 025.

2,745,487                          April 5, 2003   For: Jewelry in class 014.
                   CHLOE
3,198,388                           January 16,    For: Optical apparatus and
                                       2007        instruments, namely, spectacles,
                                                   sunglasses, eyeglasses, eye shades,
                   CHLOE                           and frames, earpieces, lenses, cords,
                                                   chains, cases and containers
                                                   therefore in class 009.

3,921,204                          February 15,    For: Perfumery, perfumes, cosmetic
                                      2011         preparations for skin, body creams,
                                                   body lotions, and personal
                                                   deodorants in class 003.

4,348,622                          June 11, 2013   For: Perfumery, perfumes, toilet
                                                   water, eau-de-Cologne, scented
                                                   water for perfume, shower and bath
                                                   gels, bubble bath, toilet soaps,

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                                                            Personal deodorants, cosmetics in
                                                            the nature of face, body and hand
                                                            creams, milks, lotions, gels and
                                                            powders, beauty masks, liquid
                                                            creams for the body, essential oils,
                                                            oils for perfumes and scents for body
                                                            care, make-up preparations,
                                                            lipsticks, foundations, pencils for the
                                                            eyes, eyebrow and lips, eye
                                                            shadows, mascara, eyeliners, nail
                                                            varnish, shampoos, hair
                                                            conditioners, hair styling and hair
                                                            care preparations, and make-up
                                                            removing preparations in class 003.

       18.    The CHLOE Trademarks have been used exclusively and continuously by Chloe

in the U.S., some since at least as early as 1973, and have never been abandoned. The above

registrations for the CHLOE Trademarks are valid, subsisting, in full force and effect, and many

are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 3 are true and

correct copies of the U.S. Registration Certificates for the CHLOE Trademarks included in the

above table. The registrations for the CHLOE Trademarks constitute prima facie evidence of

their validity and of Chloe’s exclusive right to use the CHLOE Trademarks pursuant to 15

U.S.C. § 1057(b).

Plaintiff Van Cleef & Arpels

       19.    Plaintiff Van Cleef & Arpels, S.A. is a corporation organized and existing under

the laws of Switzerland, having its principal place of business at 8 Route des Biches, 1752

Villars-sur-Glane, Switzerland (“Van Cleef & Arpels”). Van Cleef & Arpels is a subsidiary of

Richemont.

       20.    Established in France in 1906, Van Cleef & Arpels and its predecessors-in-

interest and associated companies have been doing business under the VAN CLEEF &

ARPELS name and mark for more than 100 years. Since its inception, Van Cleef & Arpels has

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been known for its innovative, highly artistic and high-quality luxury jewelry and timepieces

(the “VAN CLEEF & ARPELS Products”).

       21.     The VAN CLEEF & ARPELS Products are sold through more than 100 Van Cleef

& Arpels points of sale, including one located at 933 North Michigan Avenue in Chicago,

Illinois, and through a network of authorized retailers worldwide. VAN CLEEF & ARPELS

Products are also promoted and sold online at vancleefarpels.com. The vancleefarpels.com website

features proprietary content, images and designs exclusive to Van Cleef & Arpels.

       22.      Van Cleef & Arpels incorporates a variety of distinctive marks in the design of

its various VAN CLEEF & ARPELS Products. VAN CLEEF & ARPELS Products typically

include at least one of the Van Cleef & Arpels registered trademarks. Van Cleef & Arpels uses

its trademarks in connection with the marketing of its VAN CLEEF & ARPELS Products,

including the following marks which are collectively referred to as the “VAN CLEEF &

ARPELS Trademarks.”

REGISTRATION             REGISTERED              REGISTRATION           INTERNATIONAL
  NUMBER                 TRADEMARK                    DATE                   CLASSES
  1,415,794                                      Nov. 04, 1986     For: Jewelry and watches
                                                                   in class 014.

   1,584,572                                     Feb. 27, 1990     For: Jewelry in class 014.


   1,602,394                                     Jun. 19, 1990     For: Scarves in class 025.




   1,603,678                                     June 26, 1990     For: Leather Note Pad
                                                                   Holders in class 016.




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2,692,672                              Mar. 04, 2003   For: Jewelry; watches; in
                                                       class 014.




2,751,878                              Aug. 19, 2003   For: Precious metal and
                                                       their alloys and products
                                                       made thereof or coated
                                                       therewith not included in
                                                       other classes, namely,
                                                       jewelry, horological and
                                                       chronometric instruments,
                                                       namely, watches and
                   ALHAMBRA
                                                       watch bracelets and
                                                       necklaces, jewelry chains
                                                       of precious metal,
                                                       earrings, jewelry rings,
                                                       pendants, ankle bracelets,
                                                       cuff links, studs made of
                                                       precious metal in class
                                                       014.
2,936,247                              Mar. 29, 2005   For: Items made of
                                                       precious metal, namely,
                                                       rings, bracelets, earrings,
                                                       necklaces, pendants,
                                                       charms, brooches, clips,
                                                       hairclips, jewelry boxes,
                                                       jewelry cases, watch
              VAN CLEEF & ARPELS                       bracelets and buckles;
                                                       jewelry, watches and
                                                       clocks in class 014.

                                                       For: Retail shops
                                                       featuring jewelry and
                                                       watches in Class 035.

3,318,861          POETICAL            Oct. 23, 2007   For: Watches in class 014.
                 COMPLICATION
3,450,603                              Jun. 17, 2008   For: Jewelry in class 014.
               SWEET ALHAMBRA

3,489,019                              Aug. 19, 2008   For: jewelry; clock and
                   ALHAMBRA                            watch making, namely,
                                                       watches, watch bracelets,

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                                                       clocks, horological and
                                                       chronometric instruments
                                                       in class 014.

3,852,100                              Sep. 28, 2010   For: Watches in class 014.
                    DOMINO
3,964,525                              May 24, 2011    For: Perfume, cologne,
                                                       eau de toilette, soaps,
                                                       shower gel, bath gel, bath
                                                       foam, bath powders,
                                                       moisturizing creams and
                                                       lotions, perfumed creams
                                                       and lotions, body
                                                       deodorant, antiperspirant,
                                                       shaving preparations,
                                                       essential oils for personal
                                                       use, hair lotions,
             UNE JOURNEE A PARIS
                                                       shampoo, cosmetic
                                                       preparations, cosmetics in
                                                       Class 003.

                                                       For: Precious metals and
                                                       their alloys; jewelry;
                                                       precious stones;
                                                       horological and
                                                       chronometric instruments
                                                       in class 014.

4,037,174                              Oct. 11, 2011   For: Jewelry in class 014.

                                                       For: Retail store services
                                                       featuring jewelry in class
                                                       035.




4,065,318                              Dec. 06, 2011   For: Watches,
                                                       chronometers, clocks,
                                                       watch bands, boxes of
                POETRY OF TIME
                                                       precious metal for
                                                       watches in Class 014.

4,065,322        LES VOYAGES           Dec. 06, 2011   For: Cuff links of
               EXTRAORDINAIRES                         precious or semi-precious

                                     24
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                                                       metal, tie clips of precious
                                                       or semi-precious metal,
                                                       rings, bracelets, earrings,
                                                       necklaces, brooches, key
                                                       rings of precious metal,
                                                       watches, chronometers,
                                                       clocks; watch bands,
                                                       boxes of precious metal
                                                       for watches and jewelry in
                                                       class 014.

4,089,596                              Jan. 24, 2012   For: Cufflinks, tie pins,
                                                       rings, bracelets, earrings,
                                                       necklaces, brooches, key
                                                       holders of precious
                                                       metals, watches,
                NID DE PARADIS                         chronometers, wall
                                                       clocks, watch bands,
                                                       boxes of precious metal
                                                       for watches and jewelry in
                                                       class 014.

4,103,554                              Feb. 28, 2012   For: Perfumes, cologne,
                                                       eau de toilette in Class
                                                       003.

                                                       For: Jewelry featuring
                                                       white gold and pink gold,
                                                       but not featuring pearls or
                                                       mother of pearl;
                                                       horological and
                                                       chronometric instruments
                     PERLEE
                                                       featuring white gold and
                                                       pink gold, but not
                                                       featuring pearls or mother
                                                       of pearl in class 014.

                                                       For: Bags, namely,
                                                       handbags, evening
                                                       handbags, clutch bags and
                                                       tote bags in class 018.

4,123,742                              Apr. 10, 2012   For: Cuff links, tie clips,
                                                       rings, bracelets, earrings,
              OISEAUX DE PARADIS
                                                       brooches, precious metal
                                                       key rings; watches,

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                                                       chronometers, clocks,
                                                       watch bands, boxes of
                                                       precious metal for
                                                       watches and jewelry in
                                                       class 014.

4,223,879                              Oct. 16, 2012   For: Cuff links, tie clips,
                                                       rings, bracelets, earrings,
                                                       necklaces, brooches,
                                                       watches, chronometers,
             COULEURS DE PARADIS                       wall clocks, watch bands,
                                                       boxes of precious metal
                                                       for watches and jewelry in
                                                       class 014.

4,228,474                              Oct. 23, 2012   For: Jewelry, precious
                                                       stones, precious metals
                                                       and their alloys; pearls;
                                                       jewelry cases; boxes of
                                                       precious metal;
             PALAIS DE LA CHANCE                       horological and
                                                       chronometric instruments;
                                                       watches; chronometers;
                                                       clocks; small clocks;
                                                       watch cases in class 014.

4,231,903                              Oct. 30, 2012   For: Cuff links, tie clips,
                                                       rings, bracelets, earrings,
                                                       necklaces, brooches, key
                                                       rings of precious metals,
                                                       watches, chronometers,
                                                       clocks, watch bands,
                                                       boxes of precious metal
                                                       for watches and jewelry in
                                                       class 014.
             YOUR POETIC SETTING
                                                       For: Setting services for
                                                       jewelry, timepieces and
                                                       optical goods, namely,
                                                       selecting special
                                                       gemstones in connection
                                                       with jewelry making for
                                                       others in the nature of
                                                       custom manufacture of
                                                       jewelry and jewelry
                                                       mounting, including

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                                                                     mounting jewelry
                                                                     incorporating precious
                                                                     stones, in the nature of
                                                                     custom construction of
                                                                     jewelry for others in class
                                                                     040.

  4,653,258                                      Dec. 09, 2014       For: Jewelry in class 014.

                                                                     For: Retail store services
                                                                     featuring jewelry in Class
                                                                     035.


  4,326,883                                      Apr. 30, 2013       For: Jewelry in class 014.


  4,362,694                                      Jul. 09, 2013       For: Cuff links, tie clips,
                                                                     rings, bracelets, earrings,
                                                                     necklaces, brooches, key
                                                                     holders, watches,
                                                                     chronometers, clocks,
                            POETIC
                                                                     watch bands, boxes of
                                                                     precious metal for
                                                                     watches and jewelry in
                                                                     class 014.

  4,445,589                                      Dec. 10, 2013       For: Jewelry; watches in
                        POETIC WISH                                  class 014.

  4,634,782                                      Nov. 11, 2014       For: Jewelry; watches in
                   POETIC ASTRONOMY                                  class 014.

  4,690,352                                      Feb. 24, 2015       For: Jewelry; watches in
                         MIDNIGHT                                    class 014.
                       PLANETARIUM

  4,690,356                                      Feb. 24, 2015       For: Jewelry products;
                     HEURES FILANTES                                 watches in class 014.

  4,706,027              POETIC                  Mar. 24, 2015       For: Jewelry; watches in
                      COMPLICATIONS                                  class 014.

     23.      Van Cleef & Arpels is the owner of the entire right, title and interest in and to the

VAN CLEEF & ARPELS Trademarks. The VAN CLEEF & ARPELS Trademarks have been

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used exclusively and continuously by Van Cleef & Arpels in the U.S., some since at least as

early as 1939, and have never been abandoned. The above registrations for the VAN CLEEF &

ARPELS Trademarks are valid, subsisting, in full force and effect, and many are incontestable

pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 4 are true and correct copies of the

U.S. Registration Certificates for the VAN CLEEF & ARPELS Trademarks included in the

above table. The registrations for the VAN CLEEF & ARPELS Trademarks constitute prima

facie evidence of their validity and of Van Cleef & Arpels’ exclusive right to use the VAN

CLEEF & ARPELS Trademarks pursuant to 15 U.S.C. § 1057(b).

Plaintiff Panerai

       24.    Plaintiff OFFICINE PANERAI A.G. is a corporation organized and existing

under the laws of Switzerland, having its principal place of business at Hinterbergstrasse 22,

6312 Steinhausen, Switzerland (“Panerai”). Panerai is a subsidiary of Richemont.

       25.    Panerai is an internationally recognized manufacturer, distributor and retailer of

high precision watches and professional divers’ instruments, all of which prominently display its

famous, internationally-recognized and federally-registered trademarks, including PANERAI

(collectively, the “PANERAI Products”). PANERAI Products have become enormously popular

and even iconic, driven by Panerai’s arduous quality standards and innovative design. Among

the purchasing public, genuine PANERAI Products are instantly recognizable as such. In the

United States and around the world, the Panerai brand has come to symbolize high quality, and

PANERAI Products are among the most recognizable watches in the world.

       26.    PANERAI Products are distributed and sold to consumers through boutiques and

a highly selective worldwide network of authorized Panerai dealers, such as Tourneau located at

835 North Michigan Avenue in Chicago, Illinois. Panerai also promotes its distinctive designs



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and the PANERAI trademarks on its official website at panerai.com. The panerai.com website

features proprietary content, images and designs exclusive to Panerai.

       27.     Panerai incorporates a variety of distinctive marks in the design of its various

PANERAI Products. As a result of its long-standing use, Panerai owns common law trademark

rights in its PANERAI trademarks. Panerai has also registered its trademarks with the United

States Patent and Trademark Office. PANERAI Products typically include at least one of

Panerai’s registered trademarks. Panerai uses its trademarks in connection with the marketing of

its PANERAI Products, including the following marks which are collectively referred to as the

“PANERAI Trademarks.”

REGISTRATION           REGISTERED           REGISTRATION               INTERNATIONAL
  NUMBER               TRADEMARK                DATE                      CLASSES
  2,340,290                                 April 11, 2000     For: Chronometers, watches in
                         PANERAI                               class 014.

   2,362,908        MARE NOSTRUM             June 27, 2000     For: Chronometers and watches
                                                               in class 014.
   2,418,830            RADIOMIR            January 9, 2001    For: Chronometers; watches and
                                                               clocks in class 014.
   2,516,018                                 December 11,      For: Chronometers, watches and
                        LUMINOR                 2001           clocks in class 014.

   2,624,232                                 September 24,     For: Chronometers, watches in
                        SEALAND                  2002          class 014.

   3,004,529                                October 4, 2005    For: Boxes and cases for
                                                               watches; chronometers, watches
                                                               in class 014.




   3,035,995           LUMINOR               December 27,      For: Watches, chronometers in
                       DAYLIGHT                 2005           class 014.

   3,174,281                                 November 21,      For: Cuff links, tie pins, rings,
                   MARINA MILITARE
                                                2006           bracelets, earrings, necklaces,

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                                                    brooches; watches, chronometers,
                                                    clocks, watchbands,
                                                    wristwatches, boxes of precious
                                                    metal for watches and jewelry in
                                                    class 014.

3,178,943                           December 5,     For: Watches in class 014.
                                       2006




3,756,691                          March 9, 2010    For: Watches in class 014.




3,857,560       ZEROGRAPH         October 5, 2010   For: Watches, chronometers in
                                                    class 014.
3,882,739                          November 30,     For: Cuff-links, tie clips, rings,
                                      2010          bracelets, earrings, necklaces,
                                                    brooches in the nature of
                                                    jewellery, key rings of precious
                RADIOMIR                            metal; watches, chronometers,
                COMPOSITE                           clocks, watch straps, watch
                                                    bracelets, boxes of precious
                                                    metals for watches and jewellery
                                                    in class 014.

3,889,408                          December 14,     For: Cuff-links, tie clips, rings,
                                      2010          bracelets, earrings, necklaces,
                                                    brooches being jewellery, key
                 LUMINOR                            rings of precious metal; watches,
                COMPOSITE                           chronometers, clocks, watch
                                                    straps, watch bracelets, boxes of
                                                    precious metals for watches and
                                                    jewellery in class 014.

3,927,967     LO SCIENZIATO        March 8, 2011    For: Cufflinks, tie clips, rings,
                                                    bracelets, earrings, necklaces,

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                                                             brooches, key holders of precious
                                                             metal, watches, stopwatches, wall
                                                             clocks, watch straps, boxes of
                                                             precious metal for watches and
                                                             jewelry in class 014.
   3,942,579                               April 12, 2011    For: Watches in class 014.




   3,947,004                               April 19, 2011    For: Watches, chronometers,
                       PANERAI                               watch straps, watch bracelets,
                      COMPOSITE                              boxes of precious metal for
                                                             watches in class 014.

   4,009,035                               August 9, 2011    For: Chronometers, watches and
                                                             clocks; watch accessories,
                                                             namely, watch bands, watch
                                                             straps, watch bracelets, and
                                                             buckles for watch bands and
                                                             watch straps; boxes and cases for
                                                             watches; watch cases, namely,
                                                             watch rolls in class 014.
                  OFFICINE PANERAI
                                                             For: Sport bags; holdalls for
                                                             yachting equipment and apparel
                                                             in class 018.

                                                             For: Clothing, namely, t-shirts,
                                                             wind-resistant jackets, jackets,
                                                             vests, sweaters, polo shirts, long
                                                             sleeve shirts, scarves; headwear,
                                                             hats, caps in class 025.

       28.     The PANERAI Trademarks have been used exclusively and continuously by

Panerai and/or its predecessors-in-interest and associated companies in the U.S., some since at

least as early as 2000, and have never been abandoned.        The above registrations for the

PANERAI Trademarks are valid, subsisting, in full force and effect, and many are incontestable

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pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 5 are true and correct copies of the

U.S. Registration Certificates for the PANERAI Trademarks included in the above table. The

registrations for the PANERAI Trademarks constitute prima facie evidence of their validity and

of Panerai’s exclusive right to use the PANERAI Trademarks pursuant to 15 U.S.C. § 1057(b).

Plaintiff Lancel

       29.      Plaintiff LANCEL INTERNATIONAL SA is a corporation organized and

existing under the laws of Switzerland, having its principal place of business at 10 Route des

Biches, 1752 Villars-sur-Glane, Switzerland (“Lancel”). Lancel is a subsidiary of Richemont.

       30.    Lancel is an internationally recognized manufacturer, distributor and retailer of

high-quality handbags, small leather goods, jewelry, accessories and other goods, all of which

prominently display its famous, internationally-recognized and federally-registered trademarks,

including LANCEL (collectively, the “LANCEL Products”). LANCEL Products have become

enormously popular, driven by Lancel’s arduous quality standards and innovative design.

Among the purchasing public, genuine LANCEL Products are instantly recognizable as such. In

the United States and around the world, the Lancel brand has come to symbolize high quality,

and LANCEL Products are among the most recognizable handbags in the world.

       31.    LANCEL Products are distributed and sold to consumers through its own

boutiques worldwide and have been sold through department stores in the United States. Lancel

also promotes the LANCEL Products online at lancel.com. The lancel.com website features

proprietary content, images and designs exclusive to Lancel.

       32.    Lancel incorporates a variety of distinctive marks in the design of its various

LANCEL Products. As a result of its long-standing use, Lancel owns common law trademark

rights in its LANCEL Trademarks. Lancel has also registered its trademarks with the United



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States Patent and Trademark Office.      LANCEL Products typically include at least one of

Lancel’s registered trademarks. Lancel uses its trademarks in connection with the marketing of

its LANCEL Products, including the following marks which are collectively referred to as the

“LANCEL Trademarks.”

REGISTRATION            REGISTERED             REGISTRATION             INTERNATIONAL
   NUMBER               TRADEMARK                   DATE                     CLASSES
1,018,836                                      Aug. 26, 1975     For: Travel articles-namely,
                                                                 beauty cases, vanity cases,
                          LANCEL                                 toilette kits, all sold empty in
                                                                 class 018.

1,394,869                                      May 27, 1986      For: Suitcases, trunks,
                                                                 overnight bags, travel bags,
                                                                 tote bags, garment bags for
                                                                 travel carry-on cases, attache
                                                                 cases, briefcases, handbags,
                                                                 change purses, pouches,
                                                                 billfolds, wallets, business
                          LANCEL
                                                                 and credit card cases, and
                                                                 keyholders sold empty and
                                                                 made from leather, imitation
                                                                 leather, or substitutes
                                                                 therefor, and for umbrellas in
                                                                 class 018.

1,538,009                                      May 9, 1989       For: Watches in class 014.

                                                                 For: Clothing items made of
                          LANCEL                                 silk-namely, scarves, ties,
                                                                 foulards, and saches; belts
                                                                 with buckles in class 025.

1,775,836                                      June 8, 1993      For: Jewelry in class 014.
                          LANCEL

       33.     The LANCEL Trademarks have been used by Lancel for many years and have

never been abandoned.      The above registrations for the LANCEL Trademarks are valid,

subsisting, in full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065.

Attached hereto as Exhibit 6 are true and correct copies of the U.S. Registration Certificates for

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the LANCEL Trademarks included in the above table. The registrations for the LANCEL

Trademarks constitute prima facie evidence of their validity and of Lancel’s exclusive right to

use the LANCEL Trademarks pursuant to 15 U.S.C. § 1057(b).

Plaintiff Richemont International S.A.

        34.     Plaintiff RICHEMONT INTERNATIONAL S.A. is a corporation organized and

existing under the laws of Switzerland, having its principal place of business at 10 Route des

Biches, 1752 Villars-sur-Glane, Switzerland (“Richemont International S.A.”).         Richemont

International S.A. is a subsidiary of Richemont.

        35.     Richemont International S.A.’s Maisons or house brands include several of the

most prestigious names in the luxury timepiece and jewelry industry: IWC Schaffhausen, Piaget,

Baume & Mercier, Jaeger-LeCoultre, and Vacheron Constantin.

Maison IWC

        36.     IWC was established nearly 150 years ago in Schaffhausen, Switzerland by the

American Florentine Ariosto Jones, a watchmaker from Boston, Massachusetts. His initial aim:

to produce high-quality pocket watches for the American market.      Since then, the IWC Swiss

watch manufacturers have been creating masterpieces of haute horlogerie that combine precision

engineering with exclusive design (“IWC Products”). IWC was acquired by Richemont

International S.A. in 2000.

        37.     IWC Products are sold worldwide at fine jewelers and department stores, including

Torneau located at 835 N. Michigan Avenue in Chicago. IWC Products are also promoted online

at iwc.com. The iwc.com website features proprietary content, images and designs exclusive to

IWC and Richemont International S.A.




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       38.     IWC incorporates a variety of distinctive marks in the design of its various IWC

Products. IWC Products typically include at least one IWC registered trademark. IWC uses its

trademarks in connection with the marketing of its IWC Products, including the following marks

which are collectively referred to as the “IWC Trademarks.”

REGISTRATION           REGISTERED           REGISTRATION           INTERNATIONAL
  NUMBER               TRADEMARK                 DATE                  CLASSES
  576,647                                   June 30, 1953 For: Watch movements, cases,
                                                          dials, and sheaths in class 014.
   1,205,403                                August 17,        For: Watches in class 014.
                           IWC              1982

   2,516,587                                December 11,      For: Watches and chronometers
                                            2001              and parts for all of these goods in
                                                              class 014.

   3,507,947                                September 30,     For: Watches and chronographs
                                            2008              in class 014.

   2,479,518                                August 21,        For: Watches in class 014.
                                            2001




   4,270,382                                January 8,        For: Cuff links, tie clips, rings,
                                            2013              bracelets, earrings, necklaces,
                                                              brooches, key rings made of
                                                              precious metals, watches,
                                                              chronometers, clocks; straps for
                                                              wristwatches, boxes of precious
                                                              metal for watches and jewelry,
                                                              alarm clocks; all the
                                                              aforementioned goods from
                                                              Switzerland in class 014.

                                                              For: Advertising services;
                                                              business management; business
                                                              administration; dissemination of
                                                              advertising matter; procurement,
                                                              namely, purchasing watches and

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                                                   chronometers and components
                                                   thereof for others; providing
                                                   online and retail store services in
                                                   the field of watches,
                                                   chronometers, and luxury goods;
                                                   commercial information and
                                                   advice for consumers;
                                                   demonstration of goods; direct
                                                   mail advertising services;
                                                   auctioneering; organization of
                                                   exhibitions for commercial or
                                                   advertising purposes;
                                                   organization of trade fairs for
                                                   commercial or advertising
                                                   purposes; sales promotion for
                                                   others; publication of publicity
                                                   texts; on-line advertising on a
                                                   computer network; public
                                                   relations; news clipping services;
                                                   the bringing together, for the
                                                   benefit of others, of a variety of
                                                   goods enabling customers to
                                                   conveniently view and purchase
                                                   those goods from a store in the
                                                   field of watches, chronometers,
                                                   and luxury goods; the bringing
                                                   together, for the benefit of others,
                                                   of a variety of goods enabling
                                                   customers to conveniently view
                                                   and purchase those goods by E-
                                                   mail and telecommunications in
                                                   the field of watches,
                                                   chronometers, and luxury goods;
                                                   the bringing together, for the
                                                   benefit of others, of a variety of
                                                   goods enabling customers to
                                                   conveniently view and purchase
                                                   those goods from an Internet site
                                                   in the field of watches,
                                                   chronometers, and luxury goods
                                                   in class 035.

4,370,399                          July 23, 2013   For: Cuff links, tie clips, rings,
                                                   bracelets, earrings, necklaces,
                                                   brooches, key rings of precious
                                                   metals, watches, chronometers,

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                                                    clocks; watch straps, boxes of
                                                    precious metal for watches and
                                                    jewelry, alarm clocks; all the
                                                    aforementioned goods of Swiss
                                                    origin in class 014.

                                                    For: Providing online and retail
                                                    store services in the field of
                                                    watches and chronometers in
                                                    class 035.

4,562,021                          July 8, 2014     For: Cuff links; tie clips; rings;
                                                    bracelets; earrings; necklaces;
                                                    brooches; key rings of precious
                                                    metal; timepieces and
                                                    chronometric instruments;
                                                    watches; chronometers; wall
               IWC SAFEDIVE
                                                    clocks; watch cases; dials for
                                                    clock and watch making;
                                                    movements for timepieces; alarm
                                                    clocks; watch straps; boxes of
                                                    precious metal for watches and
                                                    jewelry in class 014.
4,322,600                          April 23, 2013   For: Soap; perfumery, essential
                                                    oils, cosmetics, hair lotions in
                                                    class 003.

                                                    For: Flatware; knives, forks, and
                                                    spoons in class 008.

                                                    For: Spectacles, sunglasses,
                                                    spectacle cases; measuring
                                                    instruments, namely, barometers,
                                                    hygrometers, and thermometers;
                     IWC                            divers' masks; apparatus for
                                                    games adapted for use with an
                                                    external display screen or monitor
                                                    in class 009.

                                                    For: Bicycles in class 012.

                                                    For: Watches, chronometers,
                                                    clocks, watch bands, boxes of
                                                    precious metal for watches in
                                                    class 014.


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                                                 For: Books and magazines in the
                                                 field of watches and luxury
                                                 goods; agendas in Class 016.

                                                 For: Books and magazines in the
                                                 field of watches and luxury
                                                 goods; agendas in class 016.
                                                 For: Bags, namely, travel bags,
                                                 briefcases, and handbags;
                                                 traveling sets comprised of
                                                 suitcases and travel bags; wallets;
                                                 card cases for business cards and
                                                 credit cards in class 018.

                                                 For: Clothing, namely, shirts,
                                                 tops, scarves, neckties, and hats in
                                                 class 025.

                                                 For: Games, namely, board
                                                 games, manipulative games,
                                                 machines for games of chance;
                                                 gymnastic apparatus; sporting
                                                 articles, namely, equestrian polo
                                                 mallets and balls, and golf clubs,
                                                 golf balls, and golf accessories,
                                                 namely, golf accessory pouches,
                                                 golf bag covers, golf bag pegs,
                                                 golf bag tags, golf bags with and
                                                 without wheels, golf ball markers,
                                                 golf ball retrievers, golf ball
                                                 sleeves, golf club bags, golf club
                                                 covers, golf club grips, golf club
                                                 heads, golf club holders for use
                                                 on a driving range or golf course,
                                                 golf club inserts, golf club shafts,
                                                 golf flags, golf gloves, golf irons,
                                                 golf putter covers, golf putters,
                                                 golf tees, golf towel clips for
                                                 attachment to golf bags; scale-
                                                 model vehicles, swim fins, remote
                                                 control toy vehicles; toys,
                                                 namely, plush toys, mechanical
                                                 toys, dolls, and toy building
                                                 blocks in class 028.

                                                 For: Tobacco, cigarettes,

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                                                 cigarillos, cigars; lighters for
                                                 smokers; smokers' articles,
                                                 namely, cigarette holders, cases
                                                 and lighters all not made of
                                                 precious metal, ashtrays, and
                                                 pipes in class 034.

                                                 For: Advertising services;
                                                 business management; business
                                                 administration; dissemination of
                                                 advertising matter; procurement,
                                                 namely, purchasing watches and
                                                 chronometers and components
                                                 thereof for others; providing
                                                 online and retail store services in
                                                 the field of watches,
                                                 chronometers, and luxury goods;
                                                 commercial information and
                                                 advice for consumers;
                                                 demonstration of goods; direct
                                                 mail advertising services;
                                                 auctioneering; organization of
                                                 exhibitions for commercial or
                                                 advertising purposes;
                                                 organization of trade fairs for
                                                 commercial or advertising
                                                 purposes; sales promotion for
                                                 others; publication of publicity
                                                 texts; on-line advertising on a
                                                 computer network; public
                                                 relations; news clipping services;
                                                 the bringing together, for the
                                                 benefit of others, of a variety of
                                                 goods enabling customers to
                                                 conveniently view and purchase
                                                 those goods from a store in the
                                                 field of watches, chronometers,
                                                 and luxury goods; the bringing
                                                 together, for the benefit of others,
                                                 of a variety of goods enabling
                                                 customers to conveniently view
                                                 and purchase those goods by E-
                                                 mail and telecommunications in
                                                 the field of watches,
                                                 chronometers, and luxury goods;
                                                 the bringing together, for the

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                                                                  benefit of others, of a variety of
                                                                  goods enabling customers to
                                                                  conveniently view and purchase
                                                                  those goods from an Internet site
                                                                  in the field of watches,
                                                                  chronometers, and luxury goods
                                                                  in class 035.

       39.     Richemont International S.A. is the owner of the entire right, title and interest in and

to the IWC Trademarks. The IWC Trademarks have been used exclusively and continuously by

IWC in the U.S., some since at least as early as 1901, and have never been abandoned. The

above registrations for the IWC Trademarks are valid, subsisting, in full force and effect, and all

are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 7 are true and

correct copies of the U.S. Registration Certificates for the IWC Trademarks included in the

above table. The registrations for the IWC Trademarks constitute prima facie evidence of their

validity and of Richemont International S.A.’s exclusive right to use the IWC Trademarks

pursuant to 15 U.S.C. § 1057(b).

Maison Piaget

       40.     The Piaget brand was established in Switzerland in 1874 and is well-known as a

master of ultra-thin watch movement construction. Part of Richemont International S.A. since

1988, Piaget also has an established reputation in the jewelry field. Since the Piaget Maison was

established, Piaget has sold and distributed watches, watch parts and watch movements, clocks,

chronometers, jewelry and other luxury goods (the “PIAGET Products”).

       41.     PIAGET Products are sold in Piaget boutiques and through other authorized

retailers, including Trabert & Hoeffer in Chicago, Illinois. Since at least as early as 1997, Piaget

has operated a website where it promotes and sells genuine PIAGET Products at piaget.com.




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The piaget.com website features proprietary content, images and designs exclusive to Piaget and

Richemont International S.A.

       42.      Piaget incorporates a variety of distinctive marks in the design of its various

PIAGET Products. PIAGET Products typically include at least one Piaget registered trademark.

Piaget uses its trademarks in connection with the marketing of its PIAGET Products, including

the following marks which are collectively referred to as the “PIAGET Trademarks.”

 REGISTRATION              REGISTERED                 REGISTRATION          INTERNATIONAL
   NUMBER                  TRADEMARK                      DATE                   CLASSES
   679,984                                             June 6, 1959    For: complete watches,
                                                                       large clocks, pendulums
                             PIAGET
                                                                       in class 014.

     742,354                                          Dec. 18, 1962    For: Watches, watch parts
                                                                       and watch movements in
                                                                       Class 014.

    2,464,407                                         June 26, 2001    For: Watches, clocks and
                      PIAGET ALTIPLANO                                 chronometers in Class
                                                                       014.

       43.      Richemont International S.A. is the owner of the entire right, title and interest in

and to the PIAGET Trademarks. The PIAGET Trademarks have been used exclusively and

continuously by Piaget in the U.S., some since at least as early as 1959, and have never been

abandoned. The above registrations for the PIAGET Trademarks are valid, subsisting, in full

force and effect, and all are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as

Exhibit 8 are true and correct copies of the U.S. Registration Certificates for the PIAGET

Trademarks included in the above table.         The registrations for the PIAGET Trademarks

constitute prima facie evidence of their validity and of Richemont International S.A.’s exclusive

right to use the PIAGET Trademarks pursuant to 15 U.S.C. § 1057(b).



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Maison Baume & Mercier

       44.     For many decades, Baume & Mercier and its predecessors-in-interest have been

engaged in the manufacture and sale of watches, watch cases, watch movements, clocks,

chronometers, and related goods (the “BAUME & MERCIER Products”).

       45.     The Baume & Mercier Maison, first established in 1830 as Baume, has received

numerous accolades throughout its history. Part of Richemont International S.A. since 1988, the

Baume & Mercier brand’s reputation for quality and style continues to this day.

       46.     BAUME & MERCIER Products are sold at fine jewelers and department stores,

including Torneau located at 835 N. Michigan Avenue and Marshall Pierce & Co. located at 29

E. Madison Street in Chicago, Illinois. Since at least as early as 1995, Baume & Mercier has

operated a website where it promotes genuine BAUME & MERCIER Products at baume-et-

mercier.com.   The baume-et-mercier.com website features proprietary content, images and

designs exclusive to Baume & Mercier and Richemont International S.A.

       47.     Baume & Mercier incorporates a variety of distinctive marks in the design of its

various BAUME & MERCIER Products. BAUME & MERCIER Products typically include at

least one Baume & Mercier registered trademark. Baume & Mercier uses its trademarks in

connection with the marketing of its BAUME & MERCIER Products, including the following

marks which are collectively referred to as the “BAUME & MERCIER Trademarks.”

REGISTRATION           REGISTERED           REGISTRATION             INTERNATIONAL
  NUMBER               TRADEMARK                 DATE                    CLASSES
  1,081,643                                 January 10,       For: Watches, watch cases and
                                            1978              watch movements in class 014.


  1,638,818                                 March 26, 1991    For: Clocks, watches and
                  BAUME & MERCIER                             chronometers in class 014.




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   2,020,357                                December 3,        For: Mechanical watches with
                                            1996               manual and automatic winding;
                                                               electric and electronic watches,
                                                               movements, cases, dials, watch
                                                               bands; diver's watches,
                  BAUME & MERCIER
                                                               chronometers; stop watches;
                      LINEA
                                                               clocks, travel clocks and electric
                                                               and electronic alarm clocks, or
                                                               with manual winding; jewel
                                                               watches in class 014.

   3,371,339      BAUME & MERCIER           January 22,        For: Watches, watch cases in
                      GENEVE                2008               class 014.


         48.   Richemont International S.A. is the owner of the entire right, title and interest in

and to the BAUME & MERCIER Trademarks. The BAUME & MERCIER Trademarks have

been used exclusively and continuously by Baume & Mercier in the U.S., some since at least as

early as 1946, and have never been abandoned. The above registrations for the BAUME &

MERCIER Trademarks are valid, subsisting, in full force and effect, and all are incontestable

pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 9 are true and correct copies of the

U.S. Registration Certificates for the BAUME & MERCIER Trademarks included in the above

table.   The registrations for the BAUME & MERCIER Trademarks constitute prima facie

evidence of their validity and of Richemont International S.A.’s exclusive right to use the

BAUME & MERCIER Trademarks pursuant to 15 U.S.C. § 1057(b).

Maison Jaeger-LeCoultre

         49.   Since its founding in 1833, Jaeger-LeCoultre has been at the forefront of

invention and innovation in fine watchmaking and is now part of Richemont International S.A.

Jaeger-LeCoultre sells and distributes watches and clocks (the “JAEGER-LECOULTRE

Products”) and has obtained hundreds of patents.




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         50.    JAEGER-LECOULTRE Products are sold via Jaeger-LeCoultre boutiques and

  fine jewelers, including Marshall Pierce & Co., Torneau, and Trabert & Hoeffer in Chicago,

  Illinois. Since at least as early as 2000, Jaeger-LeCoultre has operated a website where it

  promotes and sells genuine JAEGER-LECOULTRE Products at jaeger-lecoultre.com.                 The

  jaeger-lecoultre.com website features proprietary content, images and designs exclusive to

  Jaeger-LeCoultre and Richemont International S.A.

         51.     Jaeger-LeCoultre incorporates a variety of distinctive marks in the design of its

  various JAEGER-LECOULTRE Products. JAEGER-LECOULTRE Products typically include

  at least one Jaeger-LeCoultre registered trademark. Jaeger-LeCoultre uses its trademarks in

  connection with the marketing of its JAEGER-LECOULTRE Products, including the following

  marks which are collectively referred to as the “JAEGER-LECOULTRE Trademarks.”

REGISTRATION          REGISTERED             REGISTRATION               INTERNATIONAL
  NUMBER              TRADEMARK                  DATE                       CLASSES
  1,339,139                                   June 4, 1985     For: Watches and clocks except
                                                               dashboard clocks for land vehicles,
                JAEGER-LECOULTRE
                                                               boats and planes in class 014.

  1,402,084                                   July 22, 1986    For: Watches and clocks except
                                                               dashboard clocks for land vehicles,
                                                               boats and planes in class 014.

         52.    Richemont International S.A. is the owner of the entire right, title and interest in

  and to the JAEGER-LECOULTRE Trademarks. The JAEGER-LECOULTRE Trademarks have

  been used exclusively and continuously by Jaeger-LeCoultre in the U.S., some since at least as

  early as 1968, and have never been abandoned. The above registrations for the JAEGER-

  LECOULTRE Trademarks are valid, subsisting, in full force and effect, and both are

  incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 10 are true and correct

  copies of the U.S. Registration Certificates for the JAEGER-LECOULTRE Trademarks included

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in the above table. The registrations for the JAEGER-LECOULTRE Trademarks constitute

prima facie evidence of their validity and of Richemont International S.A.’s exclusive right to

use the JAEGER-LECOULTRE Trademarks pursuant to 15 U.S.C. § 1057(b).

Maison Vacheron Constantin

       53.     Since its founding in 1755, Vacheron Constantin has been involved in the sale

and distribution of watches, chronometers, clocks, jewelry, and related goods (the

“VACHERON CONSTANTIN Products”). Vacheron Constantin became part of Richemont

International S.A. in 1996.

       54.     VACHERON CONSTANTIN Products are sold through Vacheron Constantin

boutiques and a network of authorized retailers, including Trabert & Hoeffer in Chicago, Illinois.

VACHERON CONSTANTIN Products are also promoted online at vacheron-constantin.com.

The vacheron-constantin.com website features proprietary content, images and designs exclusive

to Vacheron Constantin and Richemont International S.A.

       55.     Vacheron Constantin incorporates a variety of distinctive marks in the design of

its various VACHERON CONSTANTIN Products.               VACHERON CONSTANTIN Products

typically include at least one of the Vacheron Constantin registered trademarks. Vacheron

Constantin uses its trademarks in connection with the marketing of its VACHERON

CONSTANTIN Products, including the following marks which are collectively referred to as the

“VACHERON CONSTANTIN Trademarks.”

 REGISTRATION                 REGISTERED            REGISTRATION            INTERNATIONAL
   NUMBER                     TRADEMARK                DATE                     CLASSES
   2,125,672                                        December 30,      For: Jewelry, cufflinks,
                                                        1997          precious gemstones,
                                                                      clocks, watches,
                                                                      chronometers and their
                                                                      parts in class 014.


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    2,965,541                                          July 12, 2005       For: Watches in class 014.
                           PATRIMONY

    3,114,414                                          July 11, 2006       For: Cuff links, watches,
                                                                           chronometers, clocks,
                                                                           watchstraps, cases of
                                                                           precious metal for watches
                                                                           and jewellery in class 014.

    3,807,756                                          June 22, 2010       For: Watches,
                                                                           chronometers, watch
                          QUAI DE L’ILE
                                                                           straps, watch bracelets in
                                                                           class 014.
    4,564,316                                           July 8, 2014       For: Watches and
                                                                           chronometers in class 014.



       56.      Richemont International S.A. is the owner of the entire right, title and interest in and

to the VACHERON CONSTANTIN Trademarks.                         The VACHERON CONSTANTIN

Trademarks have been used exclusively and continuously by Vacheron Constantin in the U.S.

since at least as early as 2006 and have never been abandoned. The above registrations for the

VACHERON CONSTANTIN Trademarks are valid, subsisting, in full force and effect, and

some are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 11 are true and

correct copies of the U.S. Registration Certificates for the VACHERON CONSTANTIN

Trademarks included in the above table. The registrations for the VACHERON CONSTANTIN

Trademarks constitute prima facie evidence of their validity and of Richemont International

S.A.’s exclusive right to use the VACHERON CONSTANTIN Trademarks pursuant to 15

U.S.C. § 1057(b).

Plaintiffs’ Trademarks and Plaintiffs’ Products

       57.      The CARTIER Trademarks, MONTBLANC Trademarks, CHLOE Trademarks,

VAN CLEEF & ARPELS Trademarks, PANERAI Trademarks, LANCEL Trademarks, IWC

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Trademarks,    PIAGET      Trademarks,    BAUME        &   MERCIER      Trademarks,    JAEGER-

LECOULTRE Trademarks, and VACHERON CONSTANTIN Trademarks are collectively

referred to herein as “Plaintiffs’ Trademarks.”

       58.     The CARTIER Products, MONTBLANC Products, CHLOE Products, VAN

CLEEF & ARPELS Products, PANERAI Products, LANCEL Products, IWC Products, PIAGET

Products, BAUME & MERCIER Products, JAEGER-LECOULTRE Products, and VACHERON

CONSTANTIN Products are collectively referred to herein as “Plaintiffs’ Products.”

       59.     Plaintiffs’ Trademarks are exclusive to Plaintiffs, and are displayed extensively

on Plaintiffs’ Products and in Plaintiffs’ marketing and promotional materials.        Plaintiffs’

Products have long been among the most popular luxury products in the world and have been

extensively promoted and advertised at great expense. In fact, Plaintiffs have expended millions

of dollars annually in advertising, promoting and marketing featuring their respective Plaintiffs’

Trademarks. Plaintiffs’ Products have also been the subject of extensive unsolicited publicity

resulting from their high-quality, innovative designs and renown as desired luxury items.

Because of these and other factors, Plaintiffs’ respective brands and many of Plaintiffs’

Trademarks have become famous.

       60.     Plaintiffs’ Trademarks are distinctive when applied to Plaintiffs’ Products,

signifying to the purchaser that the products come from Plaintiffs and are manufactured to

Plaintiffs’ quality standards. Whether Plaintiffs manufacture the products themselves or license

others to do so, Plaintiffs have ensured that products bearing their trademarks are manufactured

to the highest quality standards. Many of Plaintiffs’ Trademarks have achieved tremendous fame

and recognition, which has only added to the inherent distinctiveness of their respective marks.




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As such, the goodwill associated with Plaintiffs’ Trademarks is of incalculable and inestimable

value to Plaintiffs.

        61.     Plaintiffs have expended substantial time, money, and other resources in

developing, advertising and otherwise promoting Plaintiffs’ Trademarks. As a result, Plaintiffs’

Products bearing Plaintiffs’ Trademarks are widely recognized and exclusively associated by

consumers, the public, and the trade as being high-quality products sourced from Plaintiffs.

Each Plaintiff runs a multi-million dollar operation, and Plaintiffs’ Products have become among

the most popular of their kind in the world.

The Defendants

        62.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and, on information and belief, has sold and

continues to sell Counterfeit Products to consumers within the United States, including the State

of Illinois.

        63.     On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products bearing counterfeit versions of Plaintiffs’ Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for Plaintiffs to learn Defendants’ true identities and the exact interworking of their



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massive counterfeit network.     In the event that Defendants provide additional credible

information regarding their identities, Plaintiffs will take appropriate steps to amend the

Complaint.

                      IV. DEFENDANTS’ UNLAWFUL CONDUCT

       64.    The overwhelming success of Plaintiffs’ respective brands has resulted in their

significant counterfeiting.   Consequently, Plaintiffs have a worldwide anti-counterfeiting

program and regularly investigate suspicious websites and online marketplace listings identified

in proactive Internet sweeps and reported by consumers.        In recent years, Plaintiffs have

identified thousands of domain names linked to fully interactive websites and marketplace

listings on platforms such as iOffer and Aliexpress, including the Defendant Internet Stores,

which were offering for sale, selling, and importing Counterfeit Products to consumers in this

Judicial District and throughout the United States. Despite Plaintiffs’ enforcement efforts

online and on the ground, Defendants have persisted in creating the Defendant Internet Stores,

which generate massive profits selling Counterfeit Products.         Internet websites like the

Defendant Internet Stores are estimated to receive tens of millions of visits per year and to

generate over $135 billion in annual online sales. According to an intellectual property rights

seizures statistics report issued by Homeland Security, the manufacturer’s suggested retail price

(MSRP) of goods seized by the U.S. government in fiscal year 2014 was over $1.23 billion.

Internet websites like the Defendant Internet Stores are also estimated to contribute to tens of

thousands of lost jobs for legitimate businesses and broader economic damages such as lost tax

revenue every year.

       65.    Defendants facilitate sales by designing the Defendant Internet Stores so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers



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selling genuine Plaintiffs’ Products. Many of the Defendant Internet Stores look sophisticated

and accept payment in U.S. dollars via credit cards, Western Union and PayPal. Numerous

Defendant Domain Names also incorporate the Plaintiffs’ Trademarks into the URL, and the

Defendant Internet Stores often include content and design elements that make it very difficult

for consumers to distinguish such counterfeit sites from an authorized website. Defendants

further perpetuate the illusion of legitimacy by offering “live 24/7” customer service and using

indicia of authenticity and security that consumers have come to associate with authorized

retailers, including the McAfee® Security, VeriSign®, Visa®, MasterCard®, and PayPal®

logos.    Plaintiffs have not licensed or authorized Defendants to use any of Plaintiffs’

Trademarks, and none of the Defendants are authorized retailers of genuine Plaintiffs’ Products.

         66.   Defendants also deceive unknowing consumers by using Plaintiffs’ Trademarks

without authorization within the content, text, and/or meta tags of their websites in order to

attract various search engines crawling the Internet looking for websites relevant to consumer

searches for Plaintiffs’ Products. Additionally, upon information and belief, Defendants use

other unauthorized search engine optimization (SEO) tactics and social media spamming so that

the Defendant Internet Stores listings show up at or near the top of relevant search results and

misdirect consumers searching for genuine Plaintiffs’ Products. Further, Defendants utilize

similar illegitimate SEO tactics to propel new domain names to the top of search results after

others are shut down. As such, Plaintiffs also seek to disable Defendant Domain Names owned

by Defendants that are the means by which the Defendants could continue to sell Counterfeit

Products.

         67.   Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant



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Internet Stores. For example, many of Defendants’ names and physical addresses used to

register the Defendant Domain Names are incomplete, contain randomly typed letters, or fail to

include cities or states. Other Defendant Domain Names use privacy services that conceal the

owners’ identity and contact information. On information and belief, Defendants regularly

create new websites and online marketplace accounts on various platforms using the identities

listed in Schedule A to the Complaint, as well as other unknown fictitious names and addresses.

Such Defendant Internet Store registration patterns are one of many common tactics used by the

Defendants to conceal their identities, the full scope and interworking of their massive

counterfeiting operation, and to avoid being shut down.

       68.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores.          For example, many of the

Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. In addition, Counterfeit Products for sale in the Defendant

Internet Stores bear similar irregularities and indicia of being counterfeit to one another,

suggesting that the Counterfeit Products were manufactured by and come from a common source

and that Defendants are interrelated. The Defendant Internet Stores also include other notable

common features, including use of the same domain name registration patterns, shopping cart

platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO tactics,

HTML user-defined variables, domain redirection, lack of contact information, identically or

similarly priced items and volume sales discounts, the same incorrect grammar and misspellings,

similar hosting services, similar name servers, and the use of the same text and images, including

content copied from Plaintiffs’ official websites.




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        69.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products

in small quantities via international mail to minimize detection by U.S. Customs and Border

Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated

that the Internet has fueled “explosive growth” in the number of small packages of counterfeit

goods shipped through the mail and express carriers.

        70.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiffs’ enforcement efforts.     On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts to off-shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of

PayPal transaction logs from previous similar cases indicates that off-shore counterfeiters

regularly move funds from U.S.-based PayPal accounts to China-based bank accounts outside the

jurisdiction of this Court.

        71.     Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully used and continue to use Plaintiffs’ Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit Products into the United

States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the United



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States, including Illinois, and, on information and belief, each Defendant has sold Counterfeit

Products into the United States, including Illinois.

       72.     Defendants’ use of Plaintiffs’ Trademarks in connection with the advertising,

distribution, offering for sale, and sale of Counterfeit Products, including the sale of Counterfeit

Products into Illinois, is likely to cause and has caused confusion, mistake, and deception by and

among consumers and is irreparably harming Plaintiffs.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       73.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 72.

       74.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Plaintiffs’

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. Plaintiffs’ Trademarks are highly distinctive marks. Consumers have come to

expect the highest quality from Plaintiffs’ Products sold or marketed under Plaintiffs’

Trademarks.

       75.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products bearing

counterfeit reproductions of Plaintiffs’ Trademarks without Plaintiffs’ permission.

       76.     Plaintiffs are the exclusive owners of their respective Plaintiffs’ Trademarks.

Plaintiffs’ United States Registrations for Plaintiffs’ Trademarks (Exhibits 1-11) are in full force

and effect. Upon information and belief, Defendants have knowledge of Plaintiffs’ rights in

Plaintiffs’ Trademarks, and are willfully infringing and intentionally using counterfeits of one or

more of Plaintiffs’ Trademarks.       Defendants’ willful, intentional and unauthorized use of

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Plaintiffs’ Trademarks is likely to cause and is causing confusion, mistake, and deception as to

the origin and quality of the Counterfeit Products among the general public.

       77.     Defendants’     activities   constitute   willful   trademark   infringement     and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       78.     Plaintiffs have no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputations and the goodwill

of Plaintiffs’ Trademarks.

       79.     The injuries and damages sustained by Plaintiffs have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       80.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 79.

       81.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Plaintiffs or the origin,

sponsorship, or approval of Defendants’ Counterfeit Products by Plaintiffs.

       82.     By using Plaintiffs’ Trademarks on the Counterfeit Products, Defendants create a

false designation of origin and a misleading representation of fact as to the origin and

sponsorship of the Counterfeit Products.

       83.     Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Products to the general public is a willful violation

of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

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       84.     Plaintiffs have no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputations and the goodwill

of Plaintiffs’ respective brands.

                             COUNT III
    CLAIM FOR INJUNCTIVE RELIEF UNDER THE ANTICYBERSQUATTING
  CONSUMER PROTECTION ACT (15 U.S.C. § 1125(d)) AS TO THE DEFENDANTS
    OPERATING A DEFENDANT DOMAIN NAME INCORPORATING ANY OF
                     PLAINTIFFS’ TRADEMARKS

       85.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 84.

       86.     Plaintiffs are the exclusive owners of their respective Plaintiffs’ Trademarks. The

U.S. Registrations for Plaintiffs’ Trademarks (Exhibits 1-11) are in full force and effect.

Additionally, Plaintiffs’ Trademarks are highly distinctive and many are famous marks pursuant

to 15 U.S.C. § 1125 and were famous before and at the time of the registration of the Defendant

Domain Names.

       87.     Upon information and belief, Defendants operating a Defendant Domain Name

incorporating any of Plaintiffs’ Trademarks have acted with bad faith intent to profit from the

unauthorized use of Plaintiffs’ Trademarks and the goodwill associated therewith by registering,

trafficking in, or using various domain names which are identical to, confusingly similar to, or

dilutive of Plaintiffs’ Trademarks.

       88.     Defendants have no intellectual property rights in or to Plaintiffs’ Trademarks.

       89.     Defendants’ actions constitute willful cybersquatting in violation of §43(d) of the

Lanham Act, 15 U.S.C. §1125(d).




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        90.    Plaintiffs have no adequate remedy at law, and the registration and use of the

Defendant Domain Names incorporating Plaintiffs’ Trademarks has caused, is causing, and is

likely to continue to cause substantial and irreparable injury to the public and to Plaintiffs.

                                COUNT IV
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

        91.    Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 90.

        92.    Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their Counterfeit Products as those of Plaintiffs, causing a likelihood of confusion

and/or misunderstanding as to the source of their goods, causing a likelihood of confusion and/or

misunderstanding as to an affiliation, connection, or association with genuine Plaintiffs’

Products, representing that their products have Plaintiffs’ approval when they do not, and

engaging in other conduct which creates a likelihood of confusion or misunderstanding among

the public.

        93.    The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

        94.    Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs to suffer damage to their reputations and associated goodwill. Unless enjoined by the

Court, Plaintiffs will suffer future irreparable harm as a direct result of Defendants’ unlawful

activities.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:




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1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under or in active concert with

   them be temporarily, preliminarily, and permanently enjoined and restrained from:

      a. using Plaintiffs’ Trademarks or any reproductions, counterfeit copies or colorable

          imitations thereof in any manner in connection with the distribution, marketing,

          advertising, offering for sale, or sale of any product that is not a genuine Plaintiffs’

          Product or is not authorized by Plaintiffs to be sold in connection with Plaintiffs’

          Trademarks;

      b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

          Plaintiffs’ Product or any other product produced by Plaintiffs, that is not Plaintiffs’

          or not produced under the authorization, control, or supervision of Plaintiffs and

          approved by Plaintiffs for sale under Plaintiffs’ Trademarks;

      c. committing any acts calculated to cause consumers to believe that Defendants’

          Counterfeit Products are those sold under the authorization, control or supervision of

          Plaintiffs, or are sponsored by, approved by, or otherwise connected with Plaintiffs;

      d. further infringing Plaintiffs’ Trademarks and damaging Plaintiffs’ goodwill;

      e. otherwise competing unfairly with Plaintiffs in any manner;

      f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

          moving, storing, distributing, returning, or otherwise disposing of, in any manner,

          products or inventory not manufactured by or for Plaintiffs, nor authorized by

          Plaintiffs to be sold or offered for sale, and which bear any Plaintiffs’ trademark,

          including the Plaintiffs’ Trademarks, or any reproductions, counterfeit copies or

          colorable imitations thereof;



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       g. using, linking to, transferring, selling, exercising control over, or otherwise owning

           the Online Marketplace Accounts, the Defendant Domain Names, or any other

           domain name or online marketplace account that is being used to sell or is the means

           by which Defendants could continue to sell Counterfeit Products; and

       h. operating and/or hosting websites at the Defendant Domain Names and any other

           domain names registered or operated by Defendants that are involved with the

           distribution, marketing, advertising, offering for sale, or sale of any product bearing

           Plaintiffs’ Trademarks or any reproductions, counterfeit copies or colorable imitations

           thereof that is not a genuine Plaintiffs’ Product or not authorized by Plaintiffs to be

           sold in connection with Plaintiffs’ Trademarks; and

2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

   thereof upon them, be required to file with the Court and serve upon Plaintiffs a written

   report under oath setting forth in detail the manner and form in which Defendants have

   complied with paragraph 1, a through h, above;

3) Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant Domain Names

   shall be changed from the current registrant to Plaintiffs, and that the domain name registries

   for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

   Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and

   change the registrar of record for the Defendant Domain Names to a registrar of Plaintiffs’

   selection, and that the domain name registrars, including, but not limited to, GoDaddy

   Operating     Company,      LLC      (“GoDaddy”),      Name.com,          PDR   LTD.     d/b/a

   PublicDomainRegistry.com       (“PDR”),    1api    GmbH       (“1api”),    HEXONET      GmbH

   (“HEXONET”), and Namecheap Inc. (“Namecheap”), take any steps necessary to transfer



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   the Defendant Domain Names to a registrar account of Plaintiffs’ selection; or that the same

   domain name registries shall disable the Defendant Domain Names and make them inactive

   and untransferable;

4) Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants and those

   with notice of the injunction, including any online marketplaces such as iOffer and domain

   name registrars, including, but not limited to, GoDaddy, Name.com, PDR, 1api, HEXONET,

   and Namecheap, shall:

       a. disable and cease providing services for any accounts through which Defendants,

           currently or in the future, engage in the sale of goods using Plaintiffs’ Trademarks,

           including, but not limited to, any accounts associated with the Defendants listed on

           Schedule A; and

       b. disable any account linked to Defendants, linked to any e-mail addresses used by

           Defendants, or linked to any Defendant Domain Names.

5) That Defendants account for and pay to Plaintiffs all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of Plaintiffs’ Trademarks be increased by a sum not exceeding three times the

   amount thereof as provided by 15 U.S.C. § 1117;

6) In the alternative, that Plaintiffs be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   Plaintiffs’ Trademarks and $100,000 per domain name incorporating any of Plaintiffs’

   Trademarks pursuant to 15 U.S.C. § 1117(d);

7) That Plaintiffs be awarded their reasonable attorneys’ fees and costs; and

8) Award any and all other relief that this Court deems just and proper.



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Dated this 27th day of January 2016.   Respectfully submitted,


                                       /s/ Justin R. Gaudio_______________
                                       Kevin W. Guynn
                                       Amy C. Ziegler
                                       Justin R. Gaudio
                                       Jessica L. Bloodgood
                                       Greer, Burns & Crain, Ltd.
                                       300 South Wacker Drive, Suite 2500
                                       Chicago, Illinois 60606
                                       312.360.0080
                                       312.360.9315 (facsimile)
                                       kguynn@gbclaw.net
                                       aziegler@gbclaw.net
                                       jgaudio@gbclaw.net
                                       jbloodgood@gbclaw.net

                                       Counsel for Plaintiffs Richemont International SA,
                                       Cartier International A.G., Montblanc-Simplo
                                       GmbH, Chloe S.A.S., Van Cleef & Arpels SA,
                                       Officine Panerai A.G., and Lancel International SA




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